IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF IOWA
EASTERN (DUBUQUE) DIVISION

UNITED STATES OF AMERICA,
Plaintiff,

VS.

LANDON SHANE NATHANSON-LOVE
a/k/a “Landon Love,” CAMRON ANDREW
PETE, JR. a/k/a “Dreadhead” a/k/a “Cam”
a/k/a “Cam Stunt Montana” a/k/a “Camron
Montana”, and REGINALD DARNELL
SHAW, JR. a/k/a “Darnell Shaw, Jr.” a/k/a
“T Darnell Shaw, Jr.” a/k/a “Shaw”,

Defendants.

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No. 16-CR-1011-LRR

LOCAL RULE 7
STATEMENT

Count 1
18 U.S.C. § 922(g)(38):
Prohibited Person in
Possession of a Firearm
(Nathanson-Love)

Count 2
18 U.S.C. § 922(a)(6): False
Statement in Relation to Sale
of Firearm
(Nathanson-Love)

Count 3
18 U.S.C. § 922(a)(6): False
Statements in Relation to
Sale of Firearm
(Nathanson-Love)

Count 4
18 U.S.C. § 922(d): Sale of
Firearm to a Prohibited
Person
(Nathanson-Love)

Count 5
18 U.S.C. § 922(¢)(3):
Prohibited Person in

Possession of a Firearm
(Pete)

Count 6
18 U.S.C. § 922(¢g)(3), (g)(9):
Prohibited Person in

Possession of a Firearm
(Shaw)

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LOCAL CRIMINAL RULE 7 STATEMENT
Pursuant to Local Criminal Rule 7, the United States respectfully submits
the following brief statement describing the difference between the original
indictment and the superseding indictment,

Case Caption: Adds two new defendants, Camron Pete, Jr. and
Reginald Darnell Shaw, Jr., as well as aliases.

Count 1: Previously Count 1; minor grammatical change to
the time period, but no substantive change
intended.

Counts 2 through 6: New counts; not alleged in original indictment.

Respectfully submitted,

KEVIN W. TECHAU
United States Attorney

By: Lenath Dinceta le

TIMOTHY L. VAVRICEK
Assistant United States Attorney

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